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 4   Sacramento, California 95814
     Telephone: (916) 498-5700
 5
 6
                        IN THE UNITED STATES DISTRICT COURT
 7
                      FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9
10   UNITED STATES OF AMERICA,          )   No. 2:10-cr-00290 FCD
                                        )
11                  Plaintiff,          )   APPLICATION TO FILE
                                        )   STIPULATION UNDER SEAL; ORDER
12        v.                            )
                                        )   Judge: Hon. KENDALL J. NEWMAN
13   CECILIO MENDEZ-PRIETO, and         )             (IN CHAMBERS)
     JACOB DANIEL COBB,                 )
14                                      )
                    Defendants.         )
15                                      )
     _______________________________
16
17
          Assistant Federal Defender Jeffrey L. Staniels, Counsel for
18
     Defendant Jacob Cobb, acting on behalf of Assistant United States
19
     Attorney Michael M. Beckwith, Counsel for Plaintiff, and Erin Radekin,
20
     Counsel for Defendant Cecilio Mendez-Prieto submits this application
21
     for permission to file under seal a stipulation and proposed order
22
     pertaining to certain discovery.
23
          Federal Rule of Criminal Procedure 16(d)(1) provides that the
24
     court “...may, for good cause deny, restrict, or defer discovery or
25
     inspection, or grant other appropriate relief.”
26
          The discovery concerns at issue were orally identified to the
27
     court at the time of arraignment and are relied upon to show good cause
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 1   for this application.    If any further showing is required by the court,
 2   permission to submit a written statement for in camera review by the
 3   court is requested.
 4                                          Respectfully submitted,
 5
     Dated: August 20, 2010                  /s/ Jeffrey L. Staniels
 6                                          JEFFREY L. STANIELS
                                            Assistant Federal Defender
 7                                          Attorney for Defendant
                                            JACOB DANIEL COBB
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 6                         IN THE UNITED STATES DISTRICT COURT
 7                       FOR THE EASTERN DISTRICT OF CALIFORNIA
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 9   UNITED STATES OF AMERICA,             ) No. 2:10-cr-00290 FCD
                                           )
10                     Plaintiff,          ) ORDER
                                           )
11        v.                               ) Judge: Hon. KENDALL J. NEWMAN
                                           )           (IN CHAMBERS)
12   CECILIO MENDEZ-PRIETO, and            )
     JACOB DANIEL COBB,                    )
13                                         )
                       Defendants.         )
14                                         )
     _______________________________
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16
          Good cause having been shown in the attached application and
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     presented orally to the undrsigned, leave is hereby granted to file the
18
     stipulation and proposed order under seal.
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20       IT IS SO ORDERED.
21
                             By the Court,
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23
     Dated:    August 23, 2010                 /s/ Kendall J. Newman
24                                             Hon. KENDALL J. NEWMAN
                                               United States Magistrate Judge
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26
27
28
